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7
                         IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE DISTRICT OF ARIZONA
9
                                    )
10   United States of America,      )                Case No. CR22-02653-JGZ-LCK
11                                  )
                       Plaintiff    )
12
                                    )                MOTION TO MODIFY
13                                  )                CONDITIONS OF RELEASE
                                    )
14
     Jose Bacasegua-Barriga         )
15                                  )
16
                       Defendant    )
     ______________________________ )
17

18          Jose      Bacasegua-Barriga,   through   Counsel,   respectfully   request   a
19
     modification of his conditions of release, specifically to allow him to travel to
20
     Mexico for three days to visit his mother, who lives in Nogales, Sonora. His
21

22   mother is ill.
23
            Pretrial Services Office Cynthia Mendez has no objection to this travel as
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25
     long as Mr. Bacasegua-Barriga checks in with her before and after his trip, and
26   gives her the detailed information that she requests about the visit.
27
            /
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1          Assistant U.S. Attorney Craig Russsell does not object to this motion.
2
                               Submitted this 17th day of May, 2023
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6                                        Guenevere Nelson-Melby
                                         Attorney for Material Witness
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